       Case 2:19-cv-02050-KHV-TJJ Document 6 Filed 03/22/19 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

DANIEL PETERSON,                   )
                                   )
       Plaintiff,                  )
                                   )
vs.                                )                Case No. 2:19-cv-2050
                                   )
MINERVA SURGICAL, a Delaware       )
Corporation, and DAVID CLAPPER, an )
Individual,                        )
                                   )
       Defendants.                 )

                               CLERK’S 14-DAY EXTENSION
       Pursuant to Local Rule 77.2, Defendants Minerva Surgical and David Clapper should be

and hereby are granted fourteen (14) additional days in which to answer or otherwise plead to the

Complaint and Jury Demand [Doc. 1] filed herein. This is the first request for an extension.

Defendants’ answer or other responsive pleading was originally due April 13, 2019; therefore,

the request is timely. Defendants’ answer or other responsive pleading is now due on or before

April 29, 2019.

Dated this 22nd day of March, 2019.

                                             Clerk of the US District Court for the
                                             District of Kansas


                                             By    s/Colleen Abraham
                                               Deputy Clerk




Prepared by:
       Case 2:19-cv-02050-KHV-TJJ Document 6 Filed 03/22/19 Page 2 of 2




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And David Clapper
